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                                             14                           UNITED STATES DISTRICT COURT
                                             15                         CENTRAL DISTRICT OF CALIFORNIA
                                             16                            WESTERN DIVISION – Los Angeles
                                             17
                                             18 YUGA LABS, INC.,                          Case No.: 2:22-cv-04355-JFW-JEM
                                             19               Plaintiff and            DISCOVERY MATTER
                                                              Counterclaim Defendant,
                                             20                                        PLAINTIFF YUGA LABS, INC.’S
                                                      v.                               MEMORANDUM IN OPPOSITION
                                             21                                        TO DEFENDANTS’ MOTION TO
                                                  RYDER RIPPS, JEREMY CAHEN,           COMPEL
                                             22
                                                              Defendants and           Magistrate Judge: Hon. John E.
                                             23               Counterclaim Plaintiffs. McDermott
                                                                                       Motion Hearing Date: N/A
                                             24                                        Motion Hearing Time: N/A
                                             25                                        Discovery Cutoff Date: April 3, 2023
                                                                                       Pre-Trial Conference Date: June 9, 2023
                                             26                                        Trial Date: June 27, 2023
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                                                  YUGA LABS’ OPPOSITION MEMORANDUM TO
                                                  DEFTS’ MOTION TO COMPEL                                Case No. 2:22-CV-04355-JFW-JEM
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                                              1                                         INTRODUCTION
                                              2         The primary focus of Defendants’ motion to compel is discovery into what
                                              3 they deem “Inflammatory Materials.” As Judge Walter already held, this subject
                                              4 matter is not relevant to Yuga Labs’ claims or Defendants’ defenses; these requests
                                              5 are also patently overbroad, disproportionate, and harassing.              To the extent
                                              6 Defendants rely on their newly asserted counterclaims (which Yuga Labs will move
                                              7 to dismiss and which include a non-existent cause of action for “no defamation”) to
                                              8 justify those requests, that issue is not before the Court, and the parties’ first meet
                                              9 and confer regarding discovery into the counterclaims is scheduled for January 10.
                                             10 Regardless, the first discovery issue seeks discovery that is objectionable for the
                                             11 reasons stated in Yuga Labs’ objections even in light of the counterclaims.
                                             12         The remainder of Defendants’ issues are moot. Defendants served their
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                                             13 portion of a Joint Stipulation while Yuga Labs was preparing supplemental discovery
                                             14 on the timeline promised to Defendants, and then continued with this motion even
                                             15 though the December 21 supplementation entirely mooted four of six issues they
                                             16 raised. Yuga Labs has produced everything promised in the parties’ meet and confer
                                             17 regarding these disputes. Defendants’ motion should be denied as to all issues.
                                             18 I.      DEFENDANTS TACITLY ADMIT THAT DISCOVERY INTO
                                                        INFLAMMATORY MATERIAL IS NOT RELEVANT TO YUGA
                                             19         LABS’ TRADEMARK INFRINGEMENT COMPLAINT
                                             20         Defendants do not want to litigate this trademark infringement lawsuit on
                                             21 which the parties’ discovery disputes are based; they want to litigate a non-existent
                                             22 defamation lawsuit. However, as Judge Walter held in his December 16 Order, this
                                             23 is indeed a case about trademark infringement. See Joint Statement (ECF 69-1) at
                                             24 30. The discovery requests raised in the first issue of their Joint Stipulation all relate
                                             25 to whether their own claims about “Inflammatory Material” are indeed false (and
                                             26 what Yuga Labs may have said about such Inflammatory Material). Defendants have
                                             27 never offered any legal authority that these issues are relevant to their attempt to
                                             28 proffer a Rogers defense to their trademark infringement — whether Defendants
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                                              1 believed they were making art, or not, is evidence solely within their possession,
                                              2 custody, and control. And they have neither contended nor provided any legal
                                              3 authority showing that a Rogers defense requires the claims made in a supposedly
                                              4 artistic spirit to be true. In other words, Yuga Labs’ objections on Interrogatory 14
                                              5 and Requests 5, 7–9, 32-34, 39, 51, and 53 should be sustained because that discovery
                                              6 is not relevant to the trademark infringement claims and not proportional to the needs
                                              7 of the case.
                                              8         Defendants have essentially admitted as much, arguing that Yuga Labs should
                                              9 now agree to produce information related to Defendants’ Inflammatory Material
                                             10 because of their newly filed counterclaims. Declaration of Eric Ball (“Ball Decl.”)
                                             11 at ¶ 3. For instance, Defendants have argued that their Request for Production Nos.
                                             12 34 and 39 and Interrogatory No. 14 (covered by Defendants’ first issue in this Joint
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                                             13 Stipulation) should now be supplemented in light of Defendants’ counterclaims. This
                                             14 is necessarily a different argument than the one before the Court. Nevertheless,
                                             15 Defendants fail to establish that they are entitled to harassing discovery over
                                             16 counterclaims that have no basis in law — i.e., a declaration of non-defamation. See,
                                             17 e.g., Dow Jones & Co. Inc. v. Harrods, Ltd., 237 F. Supp. 2d 394, 402–03 (S.D.N.Y
                                             18 2002).
                                             19 II.     DEFENDANTS’ FIRST DISCOVERY ISSUE IS OBJECTIONAL
                                                        EVEN IN LIGHT OF THE COUNTERCLAIMS
                                             20
                                             21         To the extent Defendants’ discovery raised in their first issue is even relevant
                                             22 to their counterclaims, it remains disproportionate to the needs of the case, as well as
                                             23 overbroad and intentionally harassing. For example, with their Request No. 5
                                             24 Defendants seek “all” documents relating to Yuga Labs’ decision to file its lawsuit.
                                             25 ECF 69-1 at 10. Not only has Judge Walter already held that Yuga Labs’ claims do
                                             26 not arise out of Defendants’ speech, but Yuga Labs’ decision to file the lawsuit is
                                             27 protected by the attorney-client privilege and work product doctrine. If Defendants
                                             28 concede, as they allege in their counterclaims, that their own counterclaims arise out
                                                  YUGA LABS’ OPPOSITION MEMORANDUM TO       2
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                                              1 of Yuga Labs’ lawsuit, they have conceded an essential element of Yuga Labs’ anti-
                                              2 SLAPP motion, and as a matter of the Court’s and parties’ resources, Yuga Labs
                                              3 should not be ordered to log every single attorney-client communication that went
                                              4 into its decision to sue Defendants. If Defendants are not conceding that point, then
                                              5 the issue of why Yuga Labs filed suit is not in question or relevant to the proceedings.
                                              6 Similarly, Defendants’ effort to discover “all” documents in Yuga Labs’ possession,
                                              7 however tangentially related, is not proportionate to the needs of the case and
                                              8 overbroad. Defendants’ counterclaims do not mention, for example, the terms
                                              9 “Sunny,” “Peterson,” and “troll” among many others listed in Request No. 39. The
                                             10 discovery requests at issue related to the Inflammatory Material are much broader
                                             11 and further attenuated from the more-limited issues Defendants raise in their
                                             12 counterclaims.
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                                             13 III.    YUGA LABS PROMISED TO AND DID TIMELY SUPPLEMENT ITS
                                                        DISCOVERY RESPONSES, BUT DEFENDANTS REFUSED TO
                                             14         REVIEW THEM BEFORE FILING THEIR JOINT STIPULATION
                                             15         During the November 28, 2022 meet and confer, Yuga Labs promised to
                                             16 supplement certain responses (that are the subject of Defendants’ Joint Stipulation)
                                             17 and to make a supplemental document production in December 2022. Declaration
                                             18 of Ethan Thomas (ECF 69-19) (“Thomas Decl.”) at ¶ 22. Yuga Labs re-committed
                                             19 to making its supplemental production in December 2022 with its letter dated
                                             20 December 15, 2022. Declaration of Derek Gosma (ECF 69-2) (“Gosma Decl.”) at
                                             21 ¶ 8, Ex. 9 (ECF 69-11) at 2. Exactly as and when it twice promised to do, Yuga Labs
                                             22 served a supplemental document production and supplemental written responses on
                                             23 December 21, 2022. Thomas Decl. ¶¶ 3-4, 24. Yuga Labs’ supplemental responses
                                             24 and production mooted each of the issues on which it had made its commitments (i.e.
                                             25 four of the six issues Defendants put forward), and Defendants still filed this motion.
                                             26 Id.; see also Ball Decl. at ¶¶ 3 and 7.
                                             27         To the extent Defendants now contend that Yuga Labs’ supplemental
                                             28 responses and production did not moot those issues, Defendants have deprived the
                                                  YUGA LABS’ OPPOSITION MEMORANDUM TO       3
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                                              1 Court and Yuga Labs of any explanation as to why. Had Defendants waited to
                                              2 receive the promised and timely provided supplement, they could have tailored their
                                              3 Joint Stipulation to the reasons why they contend a dispute remains, to which Yuga
                                              4 Labs would have been able to respond, then allowing the Court to rule on a fully
                                              5 fleshed-out argument.1         Instead, Defendants made the tactical decision not to
                                              6 complete the meet and confer process because they wanted to get a discovery dispute
                                              7 on file while Yuga Labs’ Joint Stipulation was pending. Defendants’ rush of these
                                              8 premature issues to the Court deprives Yuga Labs and the Court of a full record and
                                              9 wastes the Court’s and the parties’ resources.
                                             10 IV.     YUGA LABS’ SUPPLEMENTAL PRODUCTION AND RESPONSES
                                                        DO, IN FACT, MOOT ANY DISPUTE OTHER THAN AS PERTAINS
                                             11         TO INFLAMMATORY MATERIAL
                                             12         Yuga Labs’ supplemental document production was thorough and complete.2
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                                             13 By raising no specific issue about the supplementation, Defendants impliedly admit
                                             14 that their disputes over Requests 28, 29, and 48 are moot. Ball Decl. ¶ 3. For Request
                                             15 17, notwithstanding Yuga Labs’ response that it supplemented its response to state
                                             16 that it “had no documents related to general document retention policies” (ECF 69-
                                             17 20 at 23), Defendants protest that Yuga Labs “must have” responsive materials. Ball.
                                             18 Decl. ¶ 3. That is not a legitimate dispute. The only dispute pending before the
                                             19 Court over Yuga Labs’ document production pertains to the irrelevant, harassing,
                                             20 non-proportional, and otherwise objectionable requests about Defendants’
                                             21 Inflammatory Material.3
                                             22   1
                                                    By contrast, Yuga Labs waited until after Defendants completed their promised
                                                  supplemental “lion’s share” production (on December 1) to serve their Joint
                                             23   Stipulation. Thomas Decl. ¶ 20.
                                                  2
                                             24     In contrast, on December 29, Defendants updated their estimation that they will not
                                                  complete their production until the end of January (Ball Decl. ¶ 4), nearly two months
                                             25   after they promised the “lion’s share” of their documents.
                                                  3
                                                    Defendants misleadingly tout the number of private communications they produced
                                             26   by failing to tell the Court that most of those communications are from group chats,
                                                  including a group chat they twice produced which Yuga Labs only first obtained from
                                             27   a third party. Defendants count every row of a chat file as a separate internal
                                                  “communication” for purposes of inflating their production. Moreover, as detailed
                                             28   in Yuga Labs’ Joint Stipulation (ECF 67 at 45, 46-47), Defendants’ initial production
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                                              1         Furthermore, Yuga Labs’ supplemental interrogatory responses provide
                                              2 Defendants with the information they need to defend this trademark infringement
                                              3 lawsuit. For example, even though Defendants admit that they use Yuga Labs’
                                              4 trademarks, and therefore there is no dispute over the marks used by the parties, Yuga
                                              5 Labs provided a supplemental interrogatory response that lists the names of the Yuga
                                              6 Labs employees involved in the creation of those marks. To the extent Defendants
                                              7 argue they need the name of the third-party designer who performed the work at the
                                              8 direction of Yuga Labs (or communications with that designer), they are wrong. The
                                              9 origin of Yuga Labs’ trademarks is not in dispute because Defendants admit that they
                                             10 use them. See ECF 69-1 at 43:2-25. “Defendants admit that they have used the
                                             11 BAYC Marks in the same marketplaces to identify and sell NFTs bearing the exact
                                             12 same images underlying the BAYC NFTs and without adding expressive content.”
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                                             13 Order (ECF 62) at 7. Thus, the designer’s identity and communications with the
                                             14 designer are not relevant to prove any fact in dispute or proportional to the needs of
                                             15 the case (nor, even, were the names of the Yuga Labs employees).                  Rather,
                                             16 Defendants transparently seek the designer’s identity and communications with the
                                             17 designer to further their narrative that Yuga Labs’ logo was designed based on the
                                             18 Nazi SS Totenkopf, a baseless assertion that Yuga Labs has publicly denounced,
                                             19 including in court filings (ECF 54 at 1). Judge Walter’s December 16 order confirms
                                             20 that these issues are not relevant to the trademark infringement claims at the core of
                                             21 this case.
                                             22
                                             23
                                             24 of one chat was truncated and not usable. Defendants’ comparison of their
                                                supposedly voluminous production, which remains inadequate (Ball Decl. ¶ 5), to
                                             25 Yuga Labs’ is a red herring. Requests 48 and 17 do not seek communications. The
                                                primary responsive documents to requests 28 and 29, which seeks information about
                                             26 consumers distinguishing RR/BAYC NFTs and BAYC NFTs, are necessarily of a
                                                public nature. Regardless, in response to Request 28 and 29, Yuga Labs produced,
                                             27 among other things, enforcement materials related to Defendants’ confusing use of
                                                Yuga Labs’ marks, and communications about those enforcement efforts and social
                                             28 media captures showing consumer confusion. Id. ¶ 7.
                                                  YUGA LABS’ OPPOSITION MEMORANDUM TO      5
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                                              1                                         CONCLUSION
                                              2         Yuga Labs asks the Court to deny Defendants’ motion to compel in its entirety.

                                              3
                                              4 Dated: January 10, 2023                   FENWICK & WEST LLP
                                              5
                                              6                                           By:      /s/ Eric Ball
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